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                                                                                            2018 Nov-19 PM 04:07
                                                                                            U.S. DISTRICT COURT
                                                                                                N.D. OF ALABAMA


                      UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ALABAMA
                           WESTERN DIVISION


REPONSA TOLBERT, pro se,                        )
                                                )
          Plaintiff,                            )
                                                )
    vs.
                                                )         7:17-cv-00873-LSC
MERCEDES-BENZ U.S.                              )
INTERNATIONAL, INC.,                            )
                                                )
          Defendant.                            )
                                                )

                               MEMORANDUM OF OPINION

          Plaintiff Reponsa Tolbert (“Tolbert” or “Plaintiff”) filed this action against

Mercedes-Benz U.S. International, Inc. (“MBUSI”) asserting claims for race, sex,

and age discrimination with respect to promotions and retaliation in violation of

Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq. (“Title VII”),

and the Civil Rights Act of 1866, 42 U.S.C. § 1981a (“§ 1981”). Before the Court is

MBUSI’s motion for summary judgment (doc. 25). 1 The motion has been briefed

and is ripe for review. For the reasons stated below, MBUSI’s motion for summary

judgment (doc. 25) is due to be granted.


1
       Tolbert’s retaliation claim against MBUSI is the only claim remaining before this Court.
(Docs. 24 & 29.)

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    I.      BACKGROUND 2

         MBUSI hired Tolbert as a logistics Team Member in October 1996. MBUSI

then promoted Tolbert to a logistics Team Leader position in June 1998. In 2012,

Tolbert began applying for promotion to a Group Leader position. However,

Tolbert claims that while she was seeking promotion, positions were not being

posted and Caucasians and/or younger individuals were being selected for

promotion instead of her. Because she believed these decisions were

discriminatory, Tolbert filed an EEOC charge in September 2013.

         In November 2014, Tolbert suffered a fall at work and was injured. MBUSI

safety personnel and a paramedic responded to the incident. Tolbert was then

taken to MBUSI’s on-site medical office. Once at the office, Tolbert’s injuries

were evaluated by the paramedic. The paramedic told Tolbert her elbow was

broken. The paramedic then iced Tolbert’s elbow and placed it in a sling. MBUSI’s



2
        The facts as presented in this section are taken only from statements of fact in the parties'
briefs supported by record evidence. While Tolbert includes many unsupported allegations
concerning the conduct of MBUSI, bare allegations not supported by materials in the record are
insufficient to create a material dispute sufficient to overcome summary judgment. See Fed. R.
Civ. P. 56(c); see also Fed. R. Civ. P. 56(e) Nevertheless, all reasonable doubts about the facts
have still been resolved in favor of Tolbert. See Info. Sys. & Networks Corp. v. City of Atlanta, 281
F.3d 1220, 1224 (11th Cir.2002). These are the “facts” for summary judgment purposes only.
They may not be the actual facts. See Cox v. Adm'r U.S. Steel & Carnegie Pension Fund, 17 F.3d
1386, 1400 (11th Cir.1994).




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medical staff then asked Tolbert to wait for the plant doctor to arrive for further

assessment. However, MBUSI’s plant doctor was not scheduled to arrive for

another two hours. Tolbert did not want to wait for the plant doctor to arrive, so

she requested to leave and drive herself to the hospital. When Tolbert was asked to

sign a statement acknowledging that she was refusing treatment, she refused to sign

it and elected instead to stay at MBUSI to receive treatment. Approximately 50

minutes after she was injured, given an initial diagnosis, and limited treatment,

Tolbert was taken to Druid City Hospital (“DCH”) in one of MBUSI’s security

trucks. Although MBUSI initially called an ambulance for Tolbert, it cancelled the

ambulance because Tolbert’s injuries were not deemed life threatening. Due to

traffic conditions, it took MBUSI’s security trucks a little over 40 minutes to make

the approximately 20 mile drive to DCH.

       After her accident, Tolbert received short term disability (“STD”) benefits

and leave from MBUSI for her injuries. Although Tolbert received these benefits,

her workers’ compensation request was denied because her injury was not

considered an on the job injury. However, Tolbert’s STD benefits and leave were

set to expire before she was capable of returning to work. Therefore, Tolbert

contacted MBUSI in December 2014 about extending her STD leave and benefits.

Tolbert’s request for an extension of STD benefits was denied because her


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paperwork was incomplete. Consequently, Tolbert’s STD benefits lapsed on

January 6, 2015. On January 20, 2015,Tolbert filed a second charge with the

EEOC alleging that MBUSI’s failure to transport her in an ambulance and request

for her to sign a statement acknowledging she was refusing treatment were

retaliatory acts. In February 2015, Tolbert’s STD benefits were restored because

her doctor provided the required paperwork.

       Although Tolbert continued to work for MBUSI, she filed for Chapter 13

Bankruptcy on August 2, 2016, as a result of her medical bills from the fall. (Doc.

26 Ex. A at 18-19). In her bankruptcy petition, Tolbert disclosed that she “may

have a workman’s comp action against Mercedes for injury to her arm.” (Id. at

137.) Tolbert did not disclose her EEOC charges.

       In 2017, Tolbert began to experience symptoms indicating carpal tunnel

syndrome (CTS). Although she was initially misdiagnosed by an occupational

therapist employed by MBUSI, MBUSI’s doctor correctly diagnosed Tolbert with

CTS a few weeks later. Tolbert filed this action in May 2017. Even though

Tolbert’s bankruptcy was ongoing, Tolbert did not update her assets schedule to

disclose this action or disclose her EEOC charges. Despite the ongoing litigation,

Tolbert continued to receive positive ratings for her work at MBUSI and was

granted additional STD leave and benefits in March 2018 for treatment of her


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CTS. Tolbert’s request for workers’ compensation benefits for her CTS was

denied.

    II.     STANDARD

    Summary judgment is appropriate “if the movant shows that there is no

genuine dispute as to any material fact 3 and the movant is entitled to judgment as a

matter of law.” FED. R. CIV. P. 56(a). A dispute is genuine if “the record taken as a

whole could lead a rational trier of fact to find for the nonmoving party.” Id. A

genuine dispute as to a material fact exists “if the nonmoving party has produced

evidence such that a reasonable factfinder could return a verdict in its favor.”

Greenberg v. BellSouth Telecomms., Inc., 498 F.3d 1258, 1263 (11th Cir. 2007)

(quoting Waddell v. Valley Forge Dental Assocs., 276 F.3d 1275, 1279 (11th Cir.

2001)). The trial judge should not weigh the evidence, but determine whether there

are any genuine issues of fact that should be resolved at trial. Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 249 (1986).

          In considering a motion for summary judgment, trial courts must give

deference to the non-moving party by “view[ing] the materials presented and all

factual inferences in the light most favorable to the nonmoving party.” Animal

3
       A material fact is one that “might affect the outcome of the case.” Urquilla-Diaz v.
Kaplan Univ., 780 F.3d 1039, 1049 (11th Cir. 2015).



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Legal Def. Fund v. U.S. Dep’t of Agric., 789 F.3d 1206, 1213–14 (11th Cir. 2015)

(citing Adickes v. S.H. Kress & Co., 398 U.S. 144, 157 (1970)). Although “pro se

complaints are entitled to a liberal interpretation by the courts, ... a pro se litigant

does not escape the essential burden under summary judgment standards of

establishing that there is a genuine issue as to a fact material to his case in order to

avert summary judgment.” Brown v. Crawford, 906 F.2d 667, 670 (11th Cir. 1990)

(emphasis added). “[U]nsubstantiated assertions alone are not enough to

withstand a motion for summary judgment,” Rollins v. TechSouth, Inc., 833 F.2d

1525, 1529 (11th Cir. 1987), as the Court can rely only on facts which are properly

supported by the evidence, and “set forth by affidavit or otherwise.” Lewis v.

Casey, 518 U.S. 343, 358 (1996). Therefore, Conclusory allegations and “mere

scintilla of evidence in support of the nonmoving party will not suffice to overcome

a motion for summary judgment.” Melton v. Abston, 841 F.3d 1207, 1220 (11th Cir.

2016) (per curiam) (quoting Young v. City of Palm Bay, Fla., 358 F.3d 859, 860 (11th

Cir. 2004)).

      In making a motion for summary judgment, “the moving party has the

burden of either negating an essential element of the nonmoving party’s case or

showing that there is no evidence to prove a fact necessary to the nonmoving

party’s case.” McGee v. Sentinel Offender Servs., LLC, 719 F.3d 1236, 1242 (11th


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Cir. 2013). Although the trial courts must use caution when granting motions for

summary judgment, “[s]ummary judgment procedure is properly regarded not as a

disfavored procedural shortcut, but rather as an integral part of the Federal Rules

as a whole.” Celotex Corp. v. Catrett, 477 U.S. 317, 327 (1986).

   III.    DISCUSSION

           A. RETALIATION UNDER TITLE VII AND § 1981

                i. ADMINISTRATIVE EXHAUSTION

      Valid claims under Title VII must meet all requirements for administrative

exhaustion. Sanchez v. Standard Brands, Inc., 431 F.2d 455, 460 (5th Cir. 1970).

Administrative exhaustion under Title VII requires filing a timely charge with the

EEOC. Id. If, as in this case, the EEOC declines to bring its own civil action against

the employer, it will issue a Notice of Right to Sue to the employee. 29 C.F.R. §

1601.28(b)(1). Upon receipt of this notice, the employee has a period of ninety days

to bring suit against the employer. 42 U.S.C. § 2000e-5(f)(1). The Eleventh Circuit

has held that a judicial complaint is limited by claims that are “like or related to, or

grew out of, the administrative allegations.” Basel v. Sec’y of Defense, 507 Fed.

App’ x. 873, 876 (11th Cir. 2013) (citing Gregory v. Georgia Dept. of Human

Resources, 355 F.3d 1277, 1280 (11th Cir. 2004)). This Circuit has also “noted that

judicial claims are allowed if they ‘amplify, clarify, or more clearly focus’ the


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allegations in the EEOC complaint, but has cautioned that allegations of new acts of

discrimination are inappropriate.” Gregory, 355 F.3d at 1279-80 (citing Wu v.

Thomas, 863 F.2d 1543, 1547 (11th Cir. 1989)). Although a plaintiff cannot add new

acts of discrimination, acts of retaliation that “grow[] out of an administrative

charge that is properly before the court” are not barred. See Gupta v. East Texas

State Univ., 654 F.2d 411 (5th Cir. Unit A Aug. 1981) 4

       MBUSI argues that many of Tolbert’s allegations of retaliation are untimely

and are due to be dismissed because of Tolbert’s failure to exhaust her

administrative remedies in regard to these actions. MBUSI specifically claims that

the following allegations are not properly before this Court because Tolbert did not

include them in her EEOC charges: (1) Tolbert’s 2012 Informal Complaint, (2)

MBUSI’s denial of Tolbert’s STD benefits extension after her November 2014 fall,

(3) MBUSI’s alleged denials of Tolbert’s workers’ compensation claims, and (4)

MBUSI’s initial misdiagnosis of Tolbert’s CTS.

       Even though Tolbert’s EEOC charges do not list the aforementioned

actions, they nonetheless relate to and grow out of the charges in Tolbert’s



4
       In Bonner v. City of Pritchard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc), the
Eleventh Circuit adopted as binging precedent all decisions of the former Fifth Circuit handed
down prior to October 1, 1981.



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administrative filings because they would have likely been included in the EEOC’s

investigation into Tolbert’s allegations of discrimination. 5 See Sanchez , 431 F.2d at

466 (noting that “the ‘scope’ of the judicial complaint is limited to the ‘scope’ of

the EEOC investigation which can reasonably be expected to grow out of the

charge of discrimination.”). Therefore, none of Tolbert’s allegations are due to be

dismissed as untimely.

               ii. TOLBERT’S PRIMA FACIE CASE

       Retaliation claims that rely on circumstantial evidence are analyzed using the

burden-shifting paradigm established in McDonnell Douglas Corp. v. Green, 411,

U.S. 792, 793 (1973). See Bryant v. Jones, 575 F.3d 1281, 1307 (11th Cir. 2009).

Under this framework, the plaintiff first bears the burden of establishing her prima

facie case. To establish a prima facie case for retaliation under § 1981 or Title VII, a

plaintiff must show that (1) she was engaged in statutorily protected activity; (2)

she suffered an adverse employment action; and (3) a causal link exists between the

protected activity and the adverse employment action. Furcron v. Mail Ctrs. Plus,

LLC, 843 F.3d 1295, 1310 (11th Cir. 2016); see also Standard v. A.B.E.L. Servs., Inc.,


5
       Tolbert received her right to sue letter for her September 2013 EEOC Charge on May 1,
2017. The right to sue letter for Tolbert’s January 2015 EEOC charge was issued on March 3,
2017.




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161 F.3d 1318, 1330 (11th Cir. 1998) (“Both of these statutes [i.e., section 1981 and

Title VII] have the same requirements of proof and use the same analytical

framework.”).

      Once a plaintiff establishes a prima facie case, McDonnell Douglas next

requires defendants to meet their “burden of producing a legitimate, non-

discriminatory reason for the challenged employment action.” Denney v. City of

Albany, 247 F.3d 1172, 1183 (11th Cir. 2001). Finally, “[i]f such a reason is

produced, a plaintiff then has the ultimate burden of proving the reason to be a

pretext for unlawful discrimination.” Id.

      Tolbert has failed to demonstrate a prima facie case because she cannot

establish a causal link between her statutorily protected activity and the alleged

adverse employment actions. Tolbert’s filing of an EEOC charge is a statutorily

protected activity. 42 U.S.C. § 2000e–3(a). Additionally, making an informal

complaint that “explicitly or implicitly communicate[s] a belief that [the conduct

suffered by the plaintiff] constitutes unlawful employment discrimination” is a

statutorily protected activity. Furcron, 843 F.3d at 1311.




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       In her alleged 2012 informal complaint 6, Tolbert complained to an

unidentified co-worker about a “Caucasian male being awarded a position without

said position being posted to the whole department.” (Doc. 13 ¶¶ 17, 41,

66.)Taking this complaint in the light most favorable to the Plaintiff, Tolbert’s

complaint implicitly communicated that the practice of not posting positions

constituted unlawful employment discrimination. Nevertheless, a plaintiff making

an informal complaint must also demonstrate that she “had a good faith, reasonable

belief that the employer was engaged in unlawful employment practices.” Id.

(quoting Little v United Techs., Carrier Transicold Div., 103 F.3d 956, 960 (11th Cir.

1997)). This belief must be “objectively reasonable in light of the facts and record

presented.” Little, 103 F.3d at 960. Tolbert has not presented evidence indicating

that her belief was objectionably reasonable. Accordingly, even if this Court were to

consider the 2012 complaint, it could not be seen by a reasonable jury as protected

activity.



6
        The Court has not been presented with any evidence of this complaint other than
MBUSI’s reference to the alleged complaint in its brief. Although Tolbert asserts in her
summary judgment response that there is an email that corroborates her allegations of an
informal complaint in 2012, the Court cannot rest its decision on unsupported factual assertions.
See Helmich v. Kennedy, 796 F.2d. 1441, 1443 (11th Cir.1986).(“[s]tatements of fact in a party's
brief, not in proper affidavit form, cannot be considered in determining if a genuine issue of
material fact exists.”)



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      To prove an adverse employment action in the context of a retaliation claim,

the plaintiff must show that a reasonable employee would have found the

challenged action materially adverse, meaning “it well might have dissuaded a

reasonable worker from making or supporting a charge of discrimination.”

Burlington N. & Santa Fe Ry. Co. v. White, 548 U.S. 53, 68 (2006); accord Crawford

v. Carroll, 529 F.3d 961, 974 (11th Cir. 2008). An adverse employment action need

not be as serious as outright termination. It may include “adverse actions which fall

short of ultimate employment decisions.” Wideman v. Wal-Mart Stores, Inc., 141

F.3d 1453, 1455-56 (11th Cir. 1998). However, the Supreme Court has stressed that

the exercise of statutorily protected activity does not “immunize [an] employee

from those petty slights or minor annoyances that often take place at work that all

employees experience.” Burlington N. & Santa Fe Ry. Co., 548 U.S. at 68. This

Court's determination of whether the defendant’s actions were materially adverse

is inherently fact-specific and “depend[s] upon the particular circumstances” of

the case. Id. at 69; see also Crawford, 529 F.3d at 973 n. 13 (11th Cir.2008) (noting

that Burlington Northern “strongly suggests that it is for a jury to decide whether

anything more than the most petty and trivial actions against an employee should

be considered ‘materially adverse’ to him and thus constitute adverse employment

actions”).


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      Tolbert alleges that the following events constitute adverse employment

actions: (1) Transporting her in a security truck to DCH after November 2014

accident at the plant, (2) MBUSI’s asking her to sign a statement acknowledging

that she was refusing treatment for her November 2014 injury, (3) Denial of her

request for an extension of STD benefits, (4) Denial of workers’ compensation

benefits, and (5) a misdiagnosis of Carpal Tunnel Syndrome (CTS).

      Tolbert does not explain why these actions are materially adverse. Instead,

Tolbert questions the reasonableness of MBUSI’s decisions and asserts that these

actions were committed in retaliation. While a delay in medical treatment may in

some circumstances rise to the level of deterring a reasonable employee from

bringing a charge of retaliation, the facts before this Court do not rise to the level of

a materially adverse action. See Wideman, 141 F.3d at 1455-56 (finding that needless

delay of required medical treatment to an employee experiencing a severe allergic

reaction in combination with other retaliatory acts could rise to the level of an

adverse action).

      Here, Tolbert initially tried to leave the plant for more immediate treatment

of her elbow. However, after MBUSI asked her to sign a statement acknowledging

she was refusing treatment, Tolbert chose to remain at the plant and be evaluated

by the plant doctor. Despite any delay from Tolbert’s decision to stay, the


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undisputed facts indicate that Tolbert received treatment by a paramedic

immediately after her fall and that she was being transported to the hospital

approximately 50 minutes after her fall. Although Tolbert claims that both

MBUSI’s request and this delay were improper, she has not presented any

evidence indicating that these actions denied her timely and appropriate medical

treatment for her broken elbow.

      Additionally, Tolbert’s argues that there was retaliatory delay in her arrival

at the hospital and exacerbation of her injuries because she was transported in a

security truck instead of an ambulance. Tolbert has not offered evidence

corroborating her allegations that the ride between the plant and the hospital would

have been faster if in an ambulance. Nor has Tolbert presented any further

evidence that the increase in pain and blood pressure she experienced in the

security truck would have been prevented by travel in an ambulance. Therefore,

the fact that MBUSI did not transport Tolbert to the hospital in her preferred

method of transport in this circumstance represents nothing more than a petty

slight or minor annoyance and a reasonable employee would not be dissuaded from

maintaining or filing a discrimination claim by this action.

      Further, the undisputed record indicates that the treatment MBUSI

provided to Tolbert was part of its standard protocol at the plant. Although Tolbert


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attempts to underscore the propriety of MBUSI’s policies, the undisputed facts

indicate that Tolbert received timely medical treatment, albeit not in the manner or

at the speed Tolbert desired. The Eleventh Circuit has observed that Title VII’s

protections “simply do not extend to everything that makes an employee

unhappy.” Davis v. Town of Lake Park, Fla., 245 F.3d 1232, 1242 (11th Cir. 2001)

(internal quotations and citation omitted). Therefore, in reviewing the evidence

and considering it in the light most favorable to Tolbert, the Court concludes that a

reasonable employee under the circumstances would not be dissuaded from

maintaining a discrimination claim by being asked to sign such a statement and/ or

being transported to a hospital in a security truck.

      Tolbert also claims that the initial misdiagnosis of her CTS was an adverse

action. Tolbert was initially told that she did not have CTS by an occupational

therapist working for MBUSI. However, MBUSI’s plant doctor corrected

Tolbert’s diagnosis a few weeks later. Tolbert again offers no argument as to how

this delay in diagnosis would constitute a materially adverse action or dissuade a

reasonable employee from maintaining a claim of retaliation. Therefore, a

reasonable jury could not conclude under the circumstances in this case that this

delay in diagnosis constituted an adverse action.




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      With regard to the denial of Tolbert’s request for an extension of STD

benefits and workers’ compensation benefits, courts in the Eleventh Circuit have

found that losses or reductions in pay may constitute materially adverse

employment actions. See Davis, 245 F.3d at 1240. The evidence indicates that

Tolbert suffered financial hardships as a result of these denials. As such, a

reasonable jury could conclude under these circumstances that a reasonable

employee would be dissuaded from maintaining a claim of discrimination by these

denials.

       As part of her prima facie case, a plaintiff must also establish that a causal

connection exists between her statutorily protected activity and the alleged adverse

employment actions she suffered. Furcron, 843 F.3d at 1310. To do so, the plaintiff

must prove that but-for the employer’s desire to retaliate, she would not have

suffered the adverse employment action. Booth, 757 F.3d at 1207. One way the

plaintiff can establish a causal connection is if she can show sufficient evidence that

the employer knew of her statutorily protected activity and that there was a close

temporal proximity between this awareness and the adverse employment actions.

Higdon v. Jackson, 393 F.3d 1211, 1220 (11th Cir. 2004); see Clark County School

Dist. v. Breeden, 532 U.S. 268, 273 (holding that the temporal proximity must be

“very close”).


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       A claim of retaliation fails as a matter of law “[i]f there is a substantial delay

between the protected expression and the adverse action in the absence of other

evidence tending to show causation.” Higdon, 393 F.3d at 1220. Tolbert argues that

the adverse actions were taken in retaliation for her September 2013 EEOC charge.

However, the adverse actions Tolbert complains of did not begin until November

2014, over a year after she filed her EEOC charge. See Breeden, 532 U.S . at 273-74

(finding that a three-and-a-half month passage of time between the protected

activity and adverse action, without other evidence of causation, is too long for the

purposes of establishing the causal link.)7 This temporal gap between the activities

is too great for this Court to find a causal link.

       Even if Tolbert could establish temporal proximity, Tolbert has failed to

adduce any evidence that any decision maker involved with her medical treatment

for her November 2014 accident, her request for an extension of STD benefits, her

workers’ compensation claims, or her misdiagnosis was aware of her EEOC

charges or her 2012 informal complaint. See Raney v. Vinson Guard Serv., Inc., 120

F.3d 1192, 1197 (11th Cir.1997) (“[I]n a case involving a corporate defendant the



7
       Tolbert does not make an argument for or present any evidence of a causal link between
her 2015 EEOC charge and the misdiagnosis of her CTS in 2017 or the denial of workers’
compensation benefits in 2017.



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plaintiff must show that the corporate agent who took the adverse action was aware

of the plaintiff's protected expression....”) In regard to Tolbert’s workers’

compensation claim, the evidence does not indicate that MBUSI was at all involved

in the workers’ compensation decision. An independent third party administrator

(“TPA”) runs MBUSI worker’s compensation program, and there is no evidence

that MBUSI informed the TPA about Tolbert’s charges. Tolbert merely argues

that she was treated differently because she filed an EEOC charge. This argument

does little to carry Tolbert’s burden of establishing her prima facie case. Tolbert has

failed to establish her prima facie case because there is no causal link between her

protected activity and an adverse action. MBUSI is entitled to summary judgment.

          B. LEGITIMATE, NONDISCRIMINATORY REASON

      If a Title VII plaintiff makes a prima facie case for retaliation, the burden of

production then shifts to the defendant to articulate legitimate, nondiscriminatory

reasons for its actions. Brown, 597 F.3d at 1181 (quoting Bryant, 575 F.3d at 1308).

The employer's burden at this stage is “exceedingly light.” Perryman v. Johnson

Prods. Co., 698 F.2d 1138, 1142 (11th Cir. 1983). If the employer articulates one or

more such reasons, even if it does not “persuade the court that it was actually

motivated by the proffered reasons…then the presumption of discrimination is

rebutted, and the burden of production shifts to the plaintiff to offer evidence that


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the alleged reason of the employer is a pretext for illegal discrimination.” Brown,

597 F.3d at 1174 (quoting Tex. Dep’t of Cmty. Affairs v. Burdine, 450 U.S. 248, 254

(1981)) (internal citations and quotation marks omitted).

      MBUSI has articulated legitimate, nondiscriminatory reasons for its actions.

First, MBUSI asserts that it does not require individuals to be treated by the plant

doctor before seeking care elsewhere, but that those refusing medical treatment at

the plant and seeking to leave before receiving treatment are asked to sign a

statement acknowledging the refusal of treatment. Accordingly, MBUSI asked

Tolbert to sign a statement acknowledging she was refusing care. Moreover,

MBSUI has asserted that its general practice is to cancel any ambulance that was

called for an employee if there is no immediate medical risk, and to transport that

employee in one of its security trucks instead. Here, MBUSI asserts that Tolbert’s

injury did not present an immediate medical risk and thus did not warrant her

transportation in an ambulance. Additionally, MBUSI has asserted that Tolbert’s

STD benefit extension was initially denied because her paperwork was not timely.

MBUSI has also indicated that Tolbert’s initial misdiagnosis by an occupational

therapist was corrected a few weeks later by the plant doctor. Furthermore,

MBUSI has pointed to evidence that it was not responsible for the denial of

Tolbert’s workers’ compensation claims because an independent third party


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administrator ran its workers’ compensation plan. MBUSI has thus proffered

legitimate, nondiscriminatory reasons for its actions concerning Tolbert.

         C. PRETEXT

      Once a legitimate, nondiscriminatory reason is proffered, Tolbert is required

to show that MBUSI’s proffered reasons were pretextual. In order to show pretext,

a plaintiff must “demonstrate that [the defendant’s] proffered reason was not the

true reason for the employment decision . . . . [The plaintiff] may succeed in this

either directly by persuading the court that a discriminatory reason [or retaliatory

motive] more likely motivated the employer or indirectly by showing that the

employer’s proffered explanation is unworthy of credence.” Jackson v. State of

Alabama State Tenure Comm’n, 405 F.3d 1276, 1289 (11th Cir. 2005); Burdine, 450

U.S. at 256. A plaintiff survives summary adjudication if she produces sufficient

evidence to allow a reasonable factfinder to disbelieve the employer’s articulated

reasons for its decisions. Jackson, 405 F.3d at 1289; Howard v. BP Oil Co., 32 F.3d

520, 525-26 (11th Cir. 1994). The plaintiff must show sufficient “weaknesses or

implausibilities” in the employer’s articulated reasons. Rioux v. City of Atlanta, 520

F.3d 1269, 1278 (11th Cir. 2008).

      Tolbert has failed to point to any evidence from which a reasonable jury

could conclude that MBUSI’s legitimate, non-discriminatory reasons were


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pretextual. Instead, Tolbert merely questions the wisdom of MBUSI’s decisions

and speculates that MBUSI had an improper motive. This is insufficient to show

pretext as MBUSI did not deviate from its medical treatment policies or

procedures. See Hurlbert v. St. Mary’s Health Care Sys., Inc., 439 F.3d 1286, 1299

(11th Cir. 2006) (“an employer's deviation from its own standard procedures may

serve as evidence of pretext”).

      Furthermore, there is no evidence indicating that MBUSI’s reasons for

denying of Tolbert’s STD or workers’ compensation benefits were pretextual. The

evidence supports MBUSI’s explanation for the denial of Tolbert’s STD benefits

because they were restored upon receipt of Tolbert’s completed paperwork.

Additionally, although Tolbert alleges that the denials of workers’ compensation

benefits were wrongful, she has produced no evidence that indicates that her claims

were otherwise valid or that MBUSI acted in bad faith or in any way impaired her

claims. See Riccard v. Prudential, 307 F.3d 1277, 1293 (11th Cir. 2002). Therefore,

Tolbert has both failed to make a prima facie case or show that MBUSI’s legitimate,

nondiscriminatory reasons for its actions were pretextual. As such, MBUSI is

entitled to summary judgment on Tolbert’s remaining claims.

         D. JUDICIAL ESTOPPEL




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      Even if the Court were to find that Tolbert’s claims were otherwise valid,

her claims would be barred by judicial estoppel. “Judicial estoppel is an equitable

doctrine invoked at a court’s discretion.” Burnes v. Pemco Aeroplex, Inc., 291 F.3d

1282, 1285 (11th Cir. 2002) (citing New Hampshire v. Maine, 532 U.S. 742, 750

(2001)) overruled in part on other grounds by Slater v. U.S. Steel Corp., 871 F.3d 1174

(11th Cir. 2017) (en banc). Application of the judicial estoppel doctrine prevents a

party from “asserting a claim in a legal proceeding that is inconsistent with a claim

taken by that party in a previous proceeding.” Burnes, 291 F.3d at 1285 (quoting 18

James Wm. Moore et al., Moore’s Federal Practice § 134.30, p. 134–62 (3d ed.

2000)). The purpose of the doctrine is “to protect the integrity of the judicial

process by prohibiting parties from deliberately changing positions according to the

exigencies of the moment.” New Hampshire, 532 U.S. at 749–50. Because judicial

estoppel protects the process, not a specific party, the one asserting the doctrine

need not show that it detrimentally relied on the other party’s previous assertions

or even that it was involved in the previous proceeding. Burnes, 291 F.3d at 1286.

      The Eleventh Circuit has established two factors which predominate in

applying judicial estoppel to a particular case. Burnes, 291 F.3d at 1285 (noting that

the “two factors applied in the Eleventh Circuit are consistent with the Supreme

Court’s instructions” in New Hampshire); Barger v. City of Cartersville, 348 F.3d


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1289, 1293 (11th Cir. 2003) overruled in part on other grounds by Slater, 871 F.3d

1174. First, a party’s allegedly inconsistent position must have been “made under

oath in a prior proceeding.” Burnes, 291 F. 3d at 1285 (quoting Salomon Smith

Barney, Inc. v. Harvey, 260 F.3d 1302, 1308 (11th Cir. 2001)). Second, the

“inconsistencies must be shown to have been calculated to make a mockery of the

judicial system.” Id. “[T]hese two enumerated factors are not inflexible or

exhaustive; rather, courts must always give due consideration to all of the

circumstances of a particular case when considering the applicability of this

doctrine.” Id. at 1286.

       A debtor seeking protection under the bankruptcy laws is required to

disclose all assets, or potential assets, to the bankruptcy court by filing a schedule of

assets and a statement of the debtor’s financial affairs. 28 U.S.C. § 521(1). “[T]he

importance of full and honest disclosure cannot be overstated.” Burnes, 291 F.3d at

1286 (quoting Ryan Operations G.P. v. Santiam-Midwest Lumber Co., 81 F.3d 355,

362 (3d. Cir. 1996)). The Eleventh Circuit “has emphasized the importance of full

and honest disclosure in bankruptcy proceedings, stating that it is ‘crucial’ to the

system’s ‘effective functioning.’” Robinson v. Tyson Foods, Inc., 595 F.3d 1269,

1274 (11th Cir. 2010) (quoting Burnes, 291 F.3d at 1286). This duty to disclose

“applies to proceedings under Chapter 13 and Chapter 7 alike” and “is a


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continuing one that does not end once the forms are submitted to the bankruptcy

court; rather, a debtor must amend her financial statements if circumstances

change.” Id. Full disclosure is particularly important because “creditors rely on a

debtor’s disclosure statements in determining whether to contest or consent to a no

asset discharge. Bankruptcy courts also rely on the accuracy of the disclosure

statements when considering whether to approve a no asset discharge.” Burnes,

291 F.3d at 1286. As such, a debtor's failure to amend her asset schedule “to reflect

a pending claim while simultaneously [pursuing] that claim in another court of law

constitutes inconsistent positions under oath.” Robinson, 595 F.3d at 1275.

      Tolbert filed for Chapter 13 bankruptcy protection on August 2, 2016.

Although Tolbert had pending EEOC charges, she did not include these claims in

her schedule. Moreover, when Tolbert filed this action in 2017 she did not amend

her schedule to include these claims. Therefore, Tolbert took inconsistent

positions under oath by simultaneously pursuing her claims of discrimination all

while omitting them from her bankruptcy proceeding.

      Having established that Tolbert has adopted inconsistent positions, the

Court must evaluate whether these inconsistences were “calculated to make a

mockery of the judicial system.” Burnes, 291 F. 3d at 1285. This is a question of

intent. The Eleventh Circuit has stated that judicial estoppel may only apply in


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situations involving intentional contradictions, “not simple error or inadvertence.”

Id. at 1286.To determine whether the plaintiff “intended to make a mockery of the

judicial system, a district court should consider all the facts and circumstances of

the case.” Slater, 871 F.3d at 1176. Factors to be considered by the district court

include:

      the plaintiff's level of sophistication, whether and under what
      circumstances the plaintiff corrected the disclosures, whether the
      plaintiff told [her] bankruptcy attorney about the civil claims before
      filing the bankruptcy disclosures, whether the trustee or creditors
      were aware of the civil lawsuit or claims before the plaintiff amended
      the disclosures, whether the plaintiff identified other lawsuits to which
      [she] was party, and any findings or actions by the bankruptcy court
      after the omission was discovered.

      Id. at 1185.

      Here, Tolbert is a college educated individual, who was represented by an

attorney in her bankruptcy proceeding. Although the parties debate whether

Tolbert told her bankruptcy attorney about her EEOC charges and retaliation

claims, the undisputed record indicates that Tolbert did disclose other pending

claims that she had, including her workers’ compensation claims. Moreover,

Tolbert’s deposition testimony indicates that she knew of her claims and was aware

of the requirement to disclose all pending claims but “didn’t see a need” to

disclose her claims. (Doc. 26 Ex. A. at 15, 20-21.) Tolbert did not reveal her EEOC



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charges throughout the pendency of her bankruptcy. Similarly, Tolbert did not

disclose this action to the bankruptcy court, even though her bankruptcy was still

pending. After her bankruptcy was dismissed in March 2018, Tolbert reached a

settlement with MBUSI and as a result dismissed all but one of her pending claims

in this case, effectively hiding the proceeds of this case from the bankruptcy court

and her creditors. These actions taken together indicate intentional conduct, not

inadvertence, by Tolbert. Therefore, the Court finds that Tolbert is judicially

estopped from asserting her claims and MBUSI is entitled to summary judgment.

   IV.     CONCLUSION

      For the reasons stated above, Defendant’s Motion for Summary Judgment

(doc. 25) is due to be GRANTED and Tolbert’s claims DISMISSED WITH

PREJDICE. An Order consistent with this Opinion will be entered separately.


      DONE and ORDERED on November 19, 2018.


                                               _____________________________
                                                       L. Scott Coogler
                                                  United States District Judge
                                                                                  195126




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